                                      Case 2:18-cv-06860-RSWL-AFM Document 13 Filed 10/11/18 Page 1 of 2 Page ID #:55




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                                        Attorneys for Plaintiff,
                                 7
                                        MARTHA CABRERA
                                 8

                                 9                           UNITED STATES DISTRICT COURT
                                 10                         CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                                                       WESTERN DIVISION

                                 12

                                 13     MARTHA CABRERA,
                                                                                   Case No.: 2:18-cv-06860-RSWL-AFM
                                 14
                                                     Plaintiff,
                                 15
                                              vs.
                                                                                   NOTICE OF SETTLEMENT
                                 16
                                        CHASE BANK USA, N.A.; and DOES
                                 17     1 through 10, inclusive,
                                 18
                                                     Defendants.
                                 19

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   Encino, California 91436




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                                 22           Plaintiff Martha Cabrera, by and through her attorneys of record,
                                 23     respectfully notifies this Honorable Court that this case has settled. Plaintiff
                                 24     requests that this Honorable Court vacate all pending hearing dates and allow sixty
                                 25
                                        (60) days with which to file dispositive documentation. A Stipulation for Dismissal
                                 26
                                        with Prejudice (and Proposed Order) will be forthcoming. This Court shall retain
                                 27
                                        jurisdiction over this matter until fully resolved.
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                                                                         NOTICE OF SETTLEMENT
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                                                                          RESPECTFULLY SUBMITTED,
                                                                          SM LAW GROUP, APC
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                                 4
                                        DATED: October 11, 2018           BY: /s/ Kian Mottahedeh
                                                                          Kian Mottahedeh (SBN 247375)
                                 5                                        Attorneys for Plaintiff,
                                                                          MARTHA CABRERA
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                                                                   NOTICE OF SETTLEMENT
